Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 1 of 16 Page|D #: 3032

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UNITED STATES DISTRICT COURT

MAY 2 4 2016
w WESTERN DISTRICT oF LoUlslANA

F\. MOOF\E. CLEHK
WES;‘¢§]|?!WD|STF\'|CT OF LOU\S\A'NA

L'~FAYE"E» L°U'S“`"“ LAFAYETTE I)IVISION
GoLDMAN sAoHs BANK USA CIVIL ACTIoN No. 15-2013

VERSUS JUDGE DOHERTY

 

MICHEL B MORENO, ET AL. MAGISTRATE JUDGE WHITEHURST

MEMORANDUM RULING

Currently pending before the Cour|: is a “Motion to Compel Arbitration” [Doc. 32], filed by
defendants Moreno Properties Two, L.L.C. (“Properties Two”) and Nicholson Estates, L.L.C.
(“Nicholson”). For the following reasons, the motion is DENIED.
I. Factual and Procedural Background

Plaintiff Goldrnan Sachs Banlc USA (“Goldrnan Sachs”) is the holder of a Consolidated,
Amended and Restated Note (“the note”) executed by defendants, Michel B. Moreno, Tiffany C.
Moreno, MBM 2011 DOH Grantor Retained Annuity Trust, TCM 2011 DOI-I Grantor Retained
Annuity Trust, MBM 2011 MGH Grantor Retained Annuity Trust, TCM 2011 MGH Grantor
Retained Annuity Trust, and Moreno Properties TWo, L.L.C. (collectively “borrowers”).l The note
Was executed in connection With a loan made by plaintiff to defendants in the amount of
$52,370,000.00. Defendants have defaulted on the note by failing to repay the loan on July 11,

2014.2 The loan is secured by a first mortgage and a UCC-l Financing Stateinent on “the Nicholson

 

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2DO<:. 1 amy 12; Doc. 1-_5, p. 2

Page 1 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 2 of 16 Page|D #: 3033

Estates Property,” and a first, second, and third mortgage, and UCC~l and UCC-3 Financing
Statements on “the Port Road Property.”3 All of the mortgages contain confessions of judgment

On July 8, 2015, plaintiff filed a “Verified Complaint to Foreclose By Executory Process,
With Benefit of Appraisal” in this Court. Pursuant to its Complaint, plaintiff sought “an Order for
Executory Process” pursuant to Louisiana law, asking that a writ of seizure and sale issue for the
foregoing properties. On September 15, 2015, this Court issued the requested writ and appointed
a keeper of the mortgaged properties.4 Three days later, defendants Properties Two and Nicholson
filed a motion to compel arbitration and stay these proceedings5 On September 21 , 2015, the Court
stayed execution of the writ of seizure and sale and order appointing a keeper, pending disposition
of the motion to compel arbitration6

Pursuant to the motion to compel arbitration, Properties Two and Nicholson seek “an order
compelling arbitration of the instant proceeding,” asserting “[b]oth the Loan Agreement and the §
Mortgage mandate the parties resolve all disputes arising under either the Loan Agreement or
Mortgages by arbitration.”7 The Court now finds, for the reasons that follow, that the motion to

compel arbitration Will be denied.

 

3The Nicholson Estates Property is immovable property located in East Baton Rouge Parish,
Louisiana. The Port Road Property is immovable property located in Iberia Parish, Louisiana.

4Doc. Nos. 29-31

5Doc. 32. No defendant has been served in this matter, because under Louisiana’s executory
process regime, service is not made upon a defendant until after the writ of seizure and sale issues and
the encumbered property has been seized. La. Code Civ. P. art. 2721. Nevertheless, defendants Properties
Two and Nicholson have made appearances in this matter. No other defendant has appeared to date.

6Doc. 34
7Doc. 32, pp. 1_2

Page 2 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 3 of 16 Page|D #: 3034

II. Applicable Law

ln an action to enforce an arbitration provision of a contract involving interstate commerce,
enforcement of the arbitration clause in federal court is controlled by the F ederal Arbitration Act,
9 U.S.C.A. §§ 1~14, rather than by state law.B The contracts in this matter involve interstate
commerce9 The Supreme Court has enunciated certain general principles applicable to determining
arbitrability: (1) arbitration is a matter of contract and a party can only be required to submit to
arbitration those disputes Which he has agreed to submit to arbitration; (2) the question of whether
the parties agreed to arbitrate the issue of arbitrability itself is a question for the court, unless the
parties clearly and unmistakable provide otherwise; (3) in determining whether the parties have
agreed to submit a particular grievance to arbitration, the court is not to rule on the potential merits
of the underlying claims; and (4) where the contract contains an arbitration clause, there is a
presumption of arbitrability In light of the presumption of arbitrability, any ambiguities are resolved

in favor of arbitration.]0

 

BHuber', Hum‘ & Nfchols, Inc. v. Architectural Stone Co., lnc., 625 F.2d 22, 25 (5th Cir. 1980)
(Where contract entails interstate commerce, enforcement of arbitration clause is governed by United
States Arbitration Act, even in diversity jurisdiction cases); little v. Enron, 463 F.3d 410, 418, n. 7 (5“‘
Cir. 2006).

9See e.g. Citfzens Bank v. Alafabco, Inc., 539 U.S. 52, 57-53 (2003)(Debt-restructuring
agreements executed in Alabama by Alabama residents Were contracts involving interstate commerce
under the Federal Arbitration Act, given that one of the parties had engaged in business throughout the
southeastern United States using loans obtained in the debt-restructuring agreements, the restructured
debt was secured by inventory assembled from out-of-state parts and raw materials, and given the broad
impact of commercial lending on the national economy).

lonnie at 413.

Page 3 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 4 of 16 Page|D #: 3035

When considering a motion to compel arbitration under the FAA, the court employs a two
step analysis: first, the court must determine Whether the parties agreed to arbitrate the dispute in
question; second, the court must determine whether legal constraints external to the parties’
agreement foreclosed the arbitration ofthose claims.11 Because no party has argued external legal
constraints have foreclosed the arbitration of the claims at issue in this case, this Court need only
conduct the first step of the analysis to resolve the arbitrability question The first step of the analysis
consists of two separate determinations: (1) whether there is a valid agreement to arbitrate between
the parties ; and (2) whether the dispute in question falls within the scope of the parties’ arbitration
agreement12 No party in this matter challenges the validity of the arbitration clauses contained in the
documents, and therefore the only issue before this Court is whether the dispute falls Within the
scope of the arbitration clauses. To determine the scope of the arbitration clauses, courts apply the
contract law of the particular state that governs the agreement13 All parties have analyzed the scope

of the arbitration clause pursuant to Louisiana law.14

 

"Webb v_ ravesmcorp, rnc., 39 ssa 252, 257-58 (5"‘ cir. 1996); raer a 413.
leebb at 258; mile at 413.
BTittle at 419.

l4,S'ee Doc. 32-1, pp. 7-12; Doc. 40, pp. 12-17. While there is some question as to the body of law
governing this matter, the Court will nevertheless apply Louisiana law, as this matter involves the
enforcement of liens against property located in Louisiana, and plaintiff’ s suit seeks to utilize a unique
Louisiana remedy. The Court additionally notes a party has “an obligation to call the applicability of
another state’s law to the court’s attention in time to be properly considered.” Kucel v. Walter E. Heller
& Co., 813 F.2d 67. 74 (5“‘ Cir. 1987); see also Amerfccm Intern. Trading Corp. v. Petrofeos Mexicanos,
835 F.2d 53 6, 540 (5“‘ Cir. 1987)(it is Well established parties are generally bound by the theory of law
they argue in district court, absent some manifest injustice; manifest injustice exists only in extreme
circumstances and requires more than a mere showing that the application of another state’s law would
produce a different result); Thompson and Wallace ofMemphis, Irzc. v. Falconwood Corp., 100 F.3d 429,
432-33 (5"‘ Cir. l996)(contracts stating the choice-of-law provisions apply to the “agreement and its
enforcement” are narrow and are to be construed narrowly).

Page 4 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 5 of 16 Page|D #:

III.

The Loan Docurnents
A. The Loan Agreement
The Loan Agreement in this matter provides in pertinent part as follows:
ARTICLE ll
THE LOAN
2.1 Loan. . . . [T]he Lender agrees, on the terms and conditions set forth
in this Agreement, to make a term loan in the aggregate principal amount up to Fifty-

Two Million Three Hundred Seventy Thousand Dollars ($52,370,000) . . . to the
Borrowers. . . .

 

On the Maturity Date the Borrowers Shall repay in full in cash the then outstanding
balance of the Loan. The obligation of each Borrower to repay the principal amount
of the Loan, and any and all interest which accrues thereon, shall be evidenced [in]
an amended, restated and consolidated promissory note. . . .

ARTICLE VllI

ACCELERATION WAIVERS AMENDMENTS AND REMEDIES

 

7.2 Other Remedies. Upon the occurrence and during the continuance of
an Event of Default, the Lender . . . may proceed to protect and enforce the Lender’s
rights by suit in equity, action of law and/or other appropriate proceeding either for
specific performance of any covenant or condition contained in this Agreernent, any
other Loan Document or in any instrument or document delivered to the Lender
pursuant hereto or thereto . . . .

ARTICLE VHI

GENERAL PROVISIONS

Page 5 of 16

3036

 

 

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 6 of 16 Page|D #: 3037 l

8.9 BINDING ARBITRATION

(a) THE PARTIES HERETO I-IEREBY WAIVE ALL RIGHTS
TO A COURT TRIAL OR TRlAL BY JURY WITH RESPECT TO ANY DISPUTE,
CONTROVERSY OR CLAIM UNDER THIS AGREEMENT AND TI-IE
BORROWERS AGREE TO SETTLE BY AR_BITRATION ANY CONTROVERSY
BETWEEN THE BORROWERS AND THE LENDER OR ITS AFFILIATES
ARISING OUT OF OR RELATING TO THIS AGREEMENT. . . .

 

(d) THE BORROWERS AND THE LENDER HEREBY
FURTHER AGREE AS FOLLOWS:

EACH OF THE BORROWERS AND THE LENDER lS EACH GIVING UP
THE RIGHT TO SUE EACH OTHER IN COURT, fNCLUDlNG THE RIGHT TO
A TRIAL BY JURY, EXCEPT AS PROVIDED BY THE RULE OF THE
ARBITRATION FORUl\/[ IN WHICH A CLAli\/I IS FILED.15

B. The Note
The note provides in pertinent part as follows:

This Note is issued pursuant to, and is entitled to the benefits of, the Loan i
Agreement. . . . This Note is secured pursuant to the terms of the Loan Agreement ‘
and certain other Loan Documents and reference is made thereto for a statement of
the terms and provisions thereof.

lf any payment . . . is not made when due hereunder . . ., or if any other Event
of Default shall occur for any reason, . . . then and in any such event, in addition to
all rights and remedies of the Lender under the Loan Agreement or any other Loan
Document, applicable law or otherwise, all such rights and remedies being
cumulative and enforceable alternatively, successively and concurrently, the Lender

 

15Doc. 1-4, pp. 7, 8, 16, 17 (capitalization in original). The Loan Agreement was amended on
June 30, 2014, by a document entitled, “First Amendment to Amended and Restated Loan Agreement.”
Doc. 1-5. The amendment recognizes the borrowers failed to repay the loan on April 11, 2014 as required
under the terms of the Loan Agreement, thereby resulting in an Event of Default. Id. at p. 2. The
amendment further memorializes the parties’ forbearance agreement, whereby the lender would refrain
from exercising its enforcement rights and extend the maturity date of the loan through July 11, 2014. Ia'.
The amendment contains an incorporation clause. Id. at 4

Page 6 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 7 of 16 Page|D #: 3038

may, at its option, declare any and all of the Borrower’s obligations . . . to be due and
payable. . . .

[Doc. 1-3, p. 2]
C. The Mortgages

The Mortgages provide in pertinent part as follows:

 

WHEREAS, Mortgagor acknowledges and agrees to be bound by the terms
and conditions of the Loan Agreement as they apply to “Borrowers” as defined
therein, to the extent applicable hereunder . . .

ARTICLE 3
DEFAULT AND FORECLOSURE

Section 3.1 Remedies. If an Event of Default exists and is continuing under
the Loan Agreement . . . Mortgagee may, at Mortgagee’s election, take such action
permitted at law or in equity, Without notice or demand . . ., as it deems advisable to
protect and enforce its rights against Mortgagor and to the Property, including but not
limited to, any or all of the following rights, remedies and recourses each of Which
may be pursued concurrently or otherwise, at such time and in such order as
l\/lortgagee may determine, in it its sole discretion, without impairing or otherwise
affecting the other rights and remedies of Mortgagee:

(d) Foreclosure and Sale. (i) lnstitute proceedings for the complete
foreclosure of this Mortgage, by exercise of the IUDICIAL FORECLOSURE or
otherwise, in which case the Property may be sold for cash or credit..

(f) Other. Exercise all other rights, remedies and recourses granted under the
Loan Documents or otherwise available at law or in equity. . . .

Section3.3 Remedies Cumulative Concurrent andNonexclusive.Mortgagee
shall have all rights, remedies and recourses granted in the Loan Documents and

 

Page 7 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 8 of 16 Page|D #: 3039

available at law or equity (including the UCC), which rights (a) shall be cumulative
and concurrent and shall be in addition to every other remedy so provided or
permitted, (b) may be pursued separately, successively or concurrently against
l\/lortgagor, or against the Property, or against any one or more of them, at the sole
discretion of Mortgagee, (c) may be exercised as often as occasion therefor shall
arise, and the exercise or failure to exercise any of them shall not be construed as a
waiver or release thereof or of any other right, remedy or recourse, and (d) are
intended to be, and shall be nonexclusive. . . .

ARTICLE 7

MlS CELLANEOUS

Section 7.12 Governing Law. THIS MORTGAGE SHALL BE GOVERNED
BY, AND BE CONSTRUED IN ACCORDANCE WITH, THE LAWS OF TI-IE
STATE IN WHICH THE PROPERTY IS LOCATED. . . . ALL OTHER
PROVISIONS OF TI-I[S SUPPLEMENT AND TI-IE RIGHTS AND OBLIGATIONS
OF MORTGAGOR AND LENDER SHALL BE GOVERNED BY, AND SHALL
BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF
THE STATE OF NEW YORK, WITl-IOUT REGARD TO THE CONFLICT OF
LAWS PRINCIPLES THEREOF.

Section 7. 16 Binding Arbitration. Mortgagor agrees to settle all claims
relating to this Mortgage by arbitration and agrees to be bound by the terms of the
[sic] Section 8.9 of the Loan Agreement which is hereby incorporated by reference

Section 7.23 Multiple Exercise of Remedies. To the extent permitted by law,
l\/lortgagor specifically consents and agrees that Mortgagee may exercise rights and
remedies hereunder and under the other Loan Documents separately or concurrently
and in any order that Mortgagee may deem appropriate16

 

IEDOC. 1-6, pp. 7, 15,16,17,36,37,38;5€€ also Doc.1_16,pp.5,14,15_16,35,37;D00. 1_19,
pp. 5, 14, 15, 16, 35, 37. The Court need not address the terms of the original Port Road mortgage, as
those terms were superceded and are controlled by the terms of the second and third mortgages Doc. 1-
12, p.3;Doc.1-18, p. 5.

Page 8 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 9 of 16 Page|D #: 3040

The Mortgages additionally contain attachments identified as Exhibit B and entitled, “Special
Provisions for the State of Louisiana,” which read in pertinent part:

1. Princinles of Construction. in the event of any inconsistencies
between the terms and conditions of this Exhibit B and the terms and conditions of
this Mortgage, the terms and conditions of this Exhibit B shall control and be
binding.

2. Louisiana Remedies. ln addition to and not in lieu or limitation of
its other remedies set out in Article 3 of this Mortgage, if an Event of Default occurs
under this Mortgage, at any time thereafter, Mortgagee, at its option, may exercise
any one or more of the following rights and remedies, in addition to any other rights
and remedies provided by law:

(b) Seizure and Sale of Prope;ty. In the event that the Mortgagee elects

to commence appropriate Louisiana foreclosure proceedings under this Mortgage,

Mortgagee may cause the Property, or any part or parts thereof, to be immediately

seized and sold, whether in term of court or in vacation, under ordinary or executory

process, in accordance with applicable Louisiana law. . . .]'"
IV. Analysis

ln this matter, the Loan Agreement provides, “The parties hereto hereby waive all rights to
a court trial or trial by]`ury with respect to any dispute, controversy or claim under this agreement
and the borrowers agree to settle by arbitration any controversy between the borrowers and the lender

or its affiliates arising out of or relating to this agreement.”la Louisiana’s executory process is not

a “court trial” or “trial by jury”; indeed, it is not even a “plenary judicial proceeding.”19 Rather,

 

llDoc. 1-7, p. 52; see also Doc. 1-17, p. 50; Doc. 1-20, p. 50.
‘BDO¢. 1-4, p. 17 (Capiraiizaaon omiaed; emphasis added)

19ll/fyers v. U.S., 647 F.2d 591, 601 (5"1 Cir. 1981); see also Republfc Bank v. US., 527 F.Supp.
415, 417 (W.D.La. 1981).

Page 9 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 10 of 16 Page|D #: 3041

executory process is “an expedited in rem action derived from the civil law.”20

Through executory process, “a creditor may effect the seizure and sale of property in an ex
parte proceeding, without previous citation and judgment, in order to enforce a mortgage or privilege
that is evidenced by an authentic act importing a confession ofjudgment.”21 To obtain the ex parte

order of seizure and sale, the creditor must file a petition that comports with the general pleading

 

requirements of Louisiana law, and must submit with his petition authentic evidence necessary to
prove his right to use executory process - e.g., the note and the authentic act of mortgage importing
a confession ofjudgment22 The order for executory process “is not considered a judgment in any
technical sense,” as Louisiana executory proceedings are based upon a contractual confession of

judgment23 “Such a confession of judgment effectively waives the right to a routine adversary

 

2011/lyons at 597; see also HOOdMOIOr Co., Inc. v. Lawrence, 320 So.2d 111, 112-13 (La. 1975). A
“plenary action” is an action involving “a full hearing or trial on the merits, as opposed to a summary
proceeding.” Plenary action, BLACK’S LAW DICTIONARY (10th ed. 2014); see also Myers v. U.S., 647
F.2d 591, 599 (5“‘ Cir. 198 1)(“p1enary judicial proceedings embody[] the procedures associated With a
complete and formal hearing on the merits, as distinguished from a more informal summary
determination”). A plenary proceeding is akin to an “ordinary proceeding” under Louisiana law. La.
Code Civ. P. art. 851, et seq. ln contrast, a trial is a c‘formal judicial examination of evidence and
determination of legal claims in an adversary proceeding.” Trial, BLACK’S LAW DICTIONARY (10“' ed.
2014). As will be discussed, supra, Louisiana executory proceedings involve no determination of legal
claims, nor are they adversarial proceedings

2110'. (footnotes omitted); Hoocl at 113. An authentic act is a writing executed before a notary
public in the presence of two witnesses La. Civ. Code art. 1833. “An act evidencing a mortgage or
privilege imports a confession of judgment when the obligor therein acknowledges the obligation secured
thereby, whether then existing or to arise thereafter, and confesses judgment thereon if the obligation is
not paid at maturity.” La. Code Civ. P. art. 2632.

ZZLa. Code civ. P. arrs. 2634, 2635.
23l\/lyers at 597 (internal quotation marks omitted).

Page 10 Of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 11 of 16 Page|D #: 3042

hearing.”24 Indeed, even the clerk of court may issue the order for executory process.25 Unlike an
ordinary proceeding where citation is essential unless the defendant has voluntarily answered the
demand, where a party has previously confessed judgment, “‘his written confession is one of those
answers which waive citation, delay, and default, and le[aves] no issue to be h'iecl.”’26 Thus, the
Court finds this matter does not involve a “court tria ” or “trial by jury,” which rights thereto the
parties waived in favor of arbitrationl

Further, the Court finds under the principles of contract interpretation, arbitration of this
matter is not required. While the loan agreement states the parties agree to settle by arbitration “any
dispute, controversy or claim under this agreement,” it additionally states, “upon occurrence and
during the continuance of an Event of Default,” Goldrnan Sachs may proceed to “protect and enforce
[its] rights by suit in equity, action of law and/or other appropriate proceeding either for specific
performance of any covenant or condition contained in this Agreement, [or] any other Loan
Document.” This language is broad enough to encompass a proceeding for executory process. lt is
well-settled in the interpretation of contracts, the specific controls the general, and therefore the
enforcement provisions identified as available after an event of default control in this rnatter.27 Thus,
after an event of default, under this contractual language, Goldman Sachs is not limited to an

arbitration suit; rather, it may proceed by filing a suit in equity, an action of law, or any “other

 

24Baclmer v. Carmaclc, 272 So.2d 326, 330 (La. 1973); see also Small Engine Shop, Inc. v.
Cascia, 373 r.zd 333, 335 (5“1 Cir. 1939).

25La. Code Civ. P. art. 283; Myers at 597; Hooa' at 114-15.
26llaalmer' at 331 (quoting Marl)ury v. Pace, 29 La.Ann. 557 (1877)).

27lll/l'i)con v. St. Paal Fire & Marine Ins. Co. ofSt. Paul, Minn., 84 So. 790, 79 (La. 1920); see also
Corbello v. lowa Proa'., 850 So.2d 686, 704 (La. 2003), Saperceded by statute on other grounds

Page 11 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 12 of 16 Page|D #: 3043

appropriate proceeding” to enforce the agreement

The Mortgages likewise contain an arbitration clause, whereby the “Morigagor agrees to
settle all claims relating to this Mortgage by arbitration . . .”25 However, like the loan agreement, the
mortgages further provide, “lf an Event of Default exists and is continuing under the Loan
Agreement . . ., Mortgagee may, at Mortgagee ’s election, take such action permitted at law or in
equity, without notice or demand. . ., including but not limited to . . . proceedings for the complete
foreclosure of this Mortgage, by exercise of the JUDlClAL FORECLOSURE or otherwise,” as well
as “all other rights, remedies and recourses granted under the Loan Documents or otherwise available
at law or in equity.”29 Additionally, Exhibit B to the Mortgages, entitled “Special Provisions for the
State of Louisiana, states “if an Event of Default occurs under this Mortgage, at any time thereafter,
Mortgagee, at its option, may exercise any one or more of the following rights and remedies, in
addition to any other rights and remedies provided by law: . . . commence appropriate Louisiana
foreclosure proceedings under this 1\/lortgage.”3‘0 Unlike the loan agreement and mortgage, Exhibit
13 contains no arbitration clause, nor reference to waiving a right to trial. Exhibit B further provides,
“ln the event of any inconsistencies between terms and conditions of this Exhibit B and the terms
and conditions of this Mortgage, the terms and conditions of this Exhibit B shall control and be

bind_ing.”31

 

28Doc. 1-6, p. 37 (emphasis added)

29Doc. 1-6, pp. 15- 17 (capitalization in original; italics added)
30Doc. 1-7, p. 52 (emphasis added)

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Page 12 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 13 of 16 Page|D #: 3044

ln support of the motion to compel arbitration, defendants rely upon Ellis Const_, Inc. v.
Vieax Carre Resort Properties, LLC, 934 So.2d 206 (La.App. 2006). in Ellis, a secured lender
exercised its right under a collateral mortgage to use executory process to seize and sell the
encumbered property for amounts due under a promissory note, made in connection with a
construction contract The borrower then filed a petition for preliminary and permanent injunction
to arrest seizure and sale of the mortgaged property, asserting the collateral mortgage documents
were executed to secure a separate loan with no outstanding indebtedness The borrower later
amended its motion for injunction and asserted the debt was unliquidated and subject to mediation
and arbitration Thus in Ellis, at the very least, the borrower specifically disputed the amount of debt
- i. e. , whether an event of default had occurred.32 On appeal, the court held the borrower was entitled
to a stay of the seizure and sale “because of the suspensive condition before executory process may
commence, to-wit, arbitration of the amount owed by [the borrower], if any.”33 Unlike Ellis, in this
matter there is no dispute that there exists an Event of Default under the Loan Documents.34

Goldman Sachs has satisfied all requirements necessary to support its right to use executory
process. lt has filed a complaint praying for seizure and sale of the encumbered property and satisfied

general pleading requirements35 With its complaint, Goldman Sachs has submitted authentic

 

32lt is unclear whether the borrower, after amendment, maintained its argument no debt was
owed, as the collateral mortgage secured a separate construction loan with no outstanding indebtedness

3315113.~, 934 send ar 213.

34While defendants argue there is an additional amendment to the Loan Documents extending the
maturity date of the loan (addressed in § V, sapra), they do not dispute there is an event of default under
the terms of the Loan Documents this Court finds to be valid and binding.

”La. Code Civ. P. art 2634

Page 13 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 14 of 16 Page|D #: 3045

evidence of: (1) the note evidencing the obligation secured by the mortgages3'5; and (2) the authentic
acts of mortgage on immovable property importing a confession of judgment37 Goldman Sachs has
additionally submitted authentic evidence of the amount of the indebtedness sought to be enforced,
and its right to enforce the mortgage under executory process.38 ln light of the foregoing, the Court
finds Goldman Sachs’ right to resort to judicial enforcement of the confessed judgments via
executory process is not impacted by the Arbitration Clause. To conclude otherwise Would
neutralize, ignore and treat as surplusage Exhibit B to the Mortgages and the “Other Remedies”
provision contained in the Loan Agreement.39 Such an interpretation would lead to an illogical and
an inequitable result. Accordingly, the Court finds the motion to compel arbitration must be denied.
V. Motion to File Amended Motion to Compel Arbitration

Defendants have submitted a “Motion For Leave To File Amended Motion to Compel
Arbitration and Stay Proceedings Pending Arbitration.”40 Pursuant to that motion, defendants move
to put certain e-mail correspondence before the Court, which defendants allege created an additional

forbearance agreement, whereby Goldman Sachs agreed to forbear from exercising its rights under

 

36The original note was attached to the complaint as Ex. 1. [Doc. 1, p. 4, 1[ 7] An original note is
sufficient to satisfy the requirement of c‘authentic evidence” of the note. See e.g. La. Code Civ. P. art.
2636(1), (6); La. R.S. 9:5555(A); US. Banlc Nat. Ass ’ri v. Damas, 144 So.3d 29, 36-37 (La.App. 2014);
Coloriial Firiance, LLC v. Coloriial Golf& Country Clul), lnc., 72 So.3d 349, 352 (La.App. 2011).

37La. Code Civ. P. art 2635.

3‘BDoc. l, p. 5, 1114;Ia'. at pp. 12-13; see also La. C.C.P. art. 2637 (Comment (a)); La. R.S. 10:9-
629; Colonial Firiance, LLC v. Colonial Golf& Coaritry Club, Inc., 72 So.3d 349, 351 (La.App. 2011);
Ellis, 934 So.2d at 212.

39La. Civ. Code art. 2050', see also Texas Eastern Transmlsslon Corp. v. Ameraa'a Hess Corp.,
145 F.3d 737, 743 (5"‘ Cir. 1998).

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Page 14 er 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 15 of 16 Page|D #: 3046

the loan documents through August 25, 2015. Because this executory proceeding was brought on
luly 8, 2015, defendants contend it was filed prematurely.41 The contracts in this matter require that
any modification of the loan documents be in writing and signed by all parties.42 The e-mail
correspondence upon which defendants rely are not signed by all parties43 Thus, the Court DENIES
defendants’ motion for leave, as it finds the e-mail correspondence to be irrelevant to the matter at
hand.

VI. Conclusion

For the reasons set forth above, the motion to compel arbitration [Doc. 32] and the motion
for leave to file an amended motion to compel arbitration [Doc. 44] are DENIED.

The motion for leave to file areply to the motion to compel arbitration [Doc. 41] is DENIED,
as it raises new issues and introduces new evidence - some of which is inadmissible - for the first
time in a proposed reply brief.44 The motion to strike arguments and evidence, or alternatively,
motion for leave to file sur-reply [Doc. 42] is DENIED AS MOOT. The motion for leave to
supplement the record of the case [Doc. 48] is DENIED, as the information contained therein is

irrelevant to this executory proceeding

 

4‘Doc. 44-1; Doc. 41-1
42Doc. 1-4, p. 16; Doc. 1-5, p. 3; see also Doc. 1-3, p. 3', Doc. 1-6, p. 36.

43While e-mail signatures can satisfy the signature requirement of a contract under Louisiana
law, there must be a showing that the parties agreed to conduct themselves by electronic means, and a
showing that the signer intended to do a legally significant act. Celtlc Marine Corp. v. James C. Justice
Companies, Inc., 760 F.3d 477, 482 (Sth Cir. 2014); Regions Barik v. Cabinet Works, LLC, 92 So.3d 945,
956 (La.App. 2012). No such showing has been made in this matter.

4‘lrS'ee e.g. Sanders v. Unam Lp"e Ins. Co. ofAmerica, 553 F.3d 922, 927 (5"‘ Cir. 2008).

Page 15 of 16

Case 6:15-cV-02018-UD.]-CBW Document 57 Filed 05/24/16 Page 16 of 16 Page|D #: 3047

The “Motion to Strike Affirmative Defenses, Answer, and Counterclaim for Declaratory

Relief” [Doc. 10], filed by Goldman Sachs is GRANTED, as an answer is not permitted in a

 

Louisiana executory proceeding45

THUS DONE AND SIGNED in Chambers, Lafayette, Louisiana, this 02 l-H` day of

"l/Vla,q ,2016.

 

 

45La. Civ. Code art. 2642; ia’. at note (a).

Page 16 of 16

